          Case 1:16-cv-00720-JLT Document 18 Filed 02/15/17 Page 1 of 1


1
2
3
4
5
6
7
8                              UNITED STATES DISTRICT COURT
9
                                EASTERN DISTRICT OF CALIFORNIA
10
11   MICHAEL WILSON,                                )    Case No.: 1:16-CV-00720 JLT
                                                    )
12                Plaintiff,                        )    ORDER DISCHARGING ORDER TO SHOW
13         v.                                       )    CAUSE
                                                    )    (Doc. 16)
14   CITY OF BAKERSFIELD, et al.,                   )
                                                    )
15                Defendants.                       )
16
17         Counsel have filed their joint report. (Doc. 17) The report demonstrates that the matter is not is
18   a settlement posture. (Doc. 17) Therefore, the order to show cause is DISCHARGED.
19
20   IT IS SO ORDERED.
21
        Dated:    February 15, 2017                          /s/ Jennifer L. Thurston
22                                                      UNITED STATES MAGISTRATE JUDGE

23
24
25
26
27
28
